            Case 5:17-cv-05541-JFL Document 5 Filed 02/12/18 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF PENNSYLVANIA

_________________________________________

JAY GRISCOM, et al.,                                         :
                   Plaintiffs,                               :
                                                             :
                 v.                                          :       No. 5:17-cv-5541
                                                             :
GREENBRIAR MARKETING &                                       :
MANAGEMENT, INC., et al.,                                    :
                  Defendants.                                :
_________________________________________

                                      DEFAULT NOTICE
                              10 Day Notice – Failure of Defendant to
                        Answer or Otherwise Respond to Plaintiffs’ Complaint

TO:     All Parties

      A review of the Court’s records indicates that Defendant, Greenbriar Marketing &
Management, Inc., has failed to timely respond to the Complaint. 1

       If Plaintiffs fail to take action to have a default entered against Defendant, Greenbriar
Marketing & Management, Inc., pursuant to Federal Rule of Civil Procedure 55(a) within ten
(10) days of the date of this Notice, the Court may enter an Order dismissing the Complaint as to
said Defendant for lack of prosecution.



                                                             KATE BARKMAN, Clerk of Court



                                                             By:/s/ Diane J. Abeles_______________
                                                                Diane J. Abeles, Civil Deputy Clerk
                                                                The Honorable Joseph F. Leeson, Jr.
                                                                Diane_J_Abeles@paed.uscourts.gov
Date of Notice: February 12, 2018


1
 This Default Notice does not express any opinion on whether service was properly effected pursuant to Federal
Rule of Civil Procedure 4.
